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UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. O4-20257-Ml

RICHARD KOEN
Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on June 15, 2005, the United States
Attorney for this district, Greg Gilluly, appearing for the Government
and the defendant, Richard Koen, appearing in person and with counsel,
Scott Hall, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 1 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this ease is SET for FRIDAY, SEPTEMBER 9, 2005, at
9:00 a.m., before Judge Jon Phipps McCalla.

Defendant is remanded to the custody of the U. S. Marshal.

EN'TERED this the £Bday of June, 2005.

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This notice confirms a copy of the document docketed as number 60 in
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Honorable J on McCalla
US DISTRICT COURT

